             Case 1:17-cv-00144-PB Document 7 Filed 08/07/17 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE


Virginia Daschbach                                       )
                                        Plaintiff,       )              Case No. 1:17-cv-144-PB
                                                         )
vs.                                                      )
                                                         )
AmeriSave Mortgage Corporation                           )
                                        Defendant        )

                           NOTICE OF DISMISSAL WITH PREJUDICE

NOW COMES THE PLAINTIFF, by and through Counsel, and pursuant to Fed. R. Civ. P

41(a)(1)(A)(i), hereby dismisses this action, in its entirety, with prejudice, and provides this Notice

of Voluntary Dismissal.


       1.         "Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any applicable federal statute, the

plaintiff may dismiss an action without a court order by filing: (i) a notice of dismissal before the

opposing party serves either an answer or a motion for summary judgment;" Fed. R. Civ. P

41(a)(1)(A)(i).

       2.         No Answer has been filed.

WHEREFORE, the Plaintiff requests that this case be dismissed in entirety with prejudice

forthwith.

Dated: August 7, 2017
                                                         Respectfully submitted,
                                                         Counsel for the Plaintiff,

                                                         /s/ John F. Skinner, III
                                                         ATTY. JOHN F. SKINNER, III
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                                                 Page 1 of 2
 
             Case 1:17-cv-00144-PB Document 7 Filed 08/07/17 Page 2 of 2




                                   CERTIFICATE OF SERVICE

I hereby certify that on this date, the foregoing was filed electronically via the CM/ECF system and
will be sent electronically to the registered participants and via first class mail to the non-registered
participants as identified on the Notice of Electronic Filing as of the date of filing.


Dated: August 7, 2017


/s/ John F. Skinner, III
Atty. John F. Skinner, III




                                                Page 2 of 2
 
